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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                        )
In re:                                                                  )   Chapter 11
                                                                        )
CENTER CITY HEALTHCARE, LLC d/b/a                                       )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                                 )
                                                                        )   Jointly Administered
                                        Debtors.                        )   Re: Docket No. 4914
                                                                        )

          CERTIFICATION OF NO OBJECTION TO FIFTIETH MONTHLY FEE
        APPLICATION OF SAUL EWING LLP, COUNSEL TO THE DEBTORS, FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
           THE PERIOD FROM AUGUST 1, 2023 THROUGH AUGUST 31, 2023

               The undersigned counsel to the above-captioned debtors and debtors-in-possession hereby

  certifies that:

               1.          On October 17, 2023, the Fiftieth Monthly Fee Application of Saul Ewing LLP,

  Counsel to the Debtors, for Allowance of Compensation and Reimbursement of Expenses for the

  Period from August 1, 2023 through August 31, 2023 (the “Application”) and the Notice of Fiftieth

  Monthly Fee Application of Saul Ewing LLP (the “Notice”) [Docket No. 4914] were filed with

  the Court.

               2.          Pursuant to the Notice, objections, if any, to the Application were required to be

  filed with the Court and served on the undersigned so as to be received on or before 4:00 p.m. on

  November 7, 2023 (the “Objection Deadline”).




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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.


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             3.          The Objection Deadline has passed and no formal objections or responses were

served upon the undersigned counsel or entered on the Court’s docket.

             4.          Pursuant to the Court’s Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses for Professionals [D.I. 341], Saul Ewing LLP may be paid 80%

of the fees ($210,711.60, which is 80% of the $263,389.50 in total fees requested) and 100% of

the expenses ($9,803.42) requested.

Dated: November 8, 2023                              SAUL EWING LLP

                                              By:    /s/ Monique B. DiSabatino
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                                                     Monique B. DiSabatino (DE Bar No. 6027)
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                                                            -and-

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                                                     Counsel for Debtors and Debtors in Possession




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